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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

THOMAS H. PILLSBURY, JR. AND ) Case No.: 2:20-cv-09301-MCA-LDW
MELODY PILLSBURY )
Plaintiffs, ) JUDGE MADELINE COX ARLEO
Vs. ) PLAINTIFF’S RESPONSE IN
) OPPOSITION TO DEFENDANT PBF
) ENERGY, INC.’S MOTION TO DISMISS
PBF ENERGY, INC. AND JEFFERS ) FOR FAILURE TO STATE A CLAIM AND
CRANE SERVICE, INC. ) IMPROPER VENUE
)
) DATE: September 8, 2020
Defendant(s). ) eprember
)
)
)
)
)

 

Plaintiffs, Thomas H. Pillsbury, Jr. and Melody Pillsbury file their Response in Opposition to
Defendant PBF Energy, Inc.’s Motion to Dismiss for Failure to State a Claim and Improper Venue
set on this Court’s docket for September 8, 2020. Defendant’s Motion is improper and without merit

and should be denied. A Memorandum in Support of this Motion is attached.

-1-
PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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DATED: August 25, 2020

-2-

Respectfully submitted,
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY

THOMAS H. PILLSBURY, JR. AND
MELODY PILLSBURY
Plaintiffs,

VS.

PBF ENERGY, INC. AND JEFFERS
CRANE SERVICE, INC.

Defendant(s).

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Case No.: 2:20-cv-09301-MCA-LDW
JUDGE MADELINE COX ARLEO

PLAINTIFF’S MEMORANDUM IN
SUPPORT OF THEIR RESPONSE IN
OPPOSITION TO DEFENDANT PBF
ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND
IMPROPER VENUE

DATE: September 8, 2020

PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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PLAINTIFF’S RESPONSE JN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS

FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS

FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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I. FACTUAL BACKGROUND

 

On or about April 1, 2020, Plaintiff THOMAS H. PILLSBURY, Jr. was in the course and
scope of his employment with Universal Plant Services, Inc. as a foreman at the Premises known as
the Toledo refinery in Toledo, Ohio.'

Defendant PBF Energy, Inc. (“PBF”) is the owner of the Premises known as Toledo refinery,
in Toledo, Ohio. Defendant PBF runs and manages this specific refinery in Toledo made the basis
of this lawsuit.

Secretary of State filings show that Toledo Refining Company LLC is indeed wholly owned
by its parent company Defendant PBF Energy, Inc.? PBF is responsible for capital expenditures and
workforce decisions which emanate from its headquarters in New Jersey.* In order to even find
information about the Toledo refinery, one is directed to PBF Energy’s own website, as can be seen
in the image below with the web address of www.pbfenergy.com.* Specifically, the website states
“PBF Energy is one of the largest independent petroleum refiners and suppliers of unbranded
transportation fuels, heating oil, petrochemical feedstocks, lubricants and other petroleum products
in the United States.”

On PBF Energy’s website there is a list of refineries that PBF owns, manages and runs located
under the Refineries tab, including the Toledo refinery in Toledo, Ohio as can be seen in the image

below’:

 

' See Complaint ff Land 4.
2 See Exhibit A, 2018 Annual Report of PBF Energy, Inc. (“PBF Energy holds a 99.0% economic interest in PBF LLC as
of December 31, 2018 through its ownership of PBF LLC Series C Units, which are held solely by PBF Energy. PBF
LLC, together with its consolidated subsidiaries, owns and operates oi! refineries and related facilities in North America.
Toledo Refining Company LLC (“Toledo Refining” or “TRC”) is PBF LLC’s principal operating subsidiaries and are all
wholly-owned subsidiaries of PBF Holding.”)
3d.
4d.
> See Exhibit B, PBF Energy, Inc. Website, Refineries, p. 2.
$ fd
"Id
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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Toledo, OH

 
 
 
 
 
 
 
 
 
  
 
 
 
 

 

The Toledo refinery has a throughput capacity of approximately 170,000
bed and a Nelson complesity rating of 9.2. Toledo processes a slate of
light, sweet crudes from Canada, the Mid-continent, the Bakken tegion
and the U.S. Gulf Coast. Toledo produces a high volume of finished
products including gasoline and ultra-low sulfur diesel, In addition to a
variety of high-value petrochemicals inciuding nonene, xylene. tetamer
and toluene.

The Toledo petra'eum refinery is located on # 282-acre site near Toledo,
Ohio, 60 mites south of Detroit, Major units at the Toledo refinery include
an FCC unt. a hydrocracker, an atkytaban unit and an UDEX unit. Crude
ts dettvered to, and finisned products are exported from, the Toledo
refinery primarily through a network of pipelines.

  

Toledo :
Quick Facts

 470,000bpd! I Ba): Nelson 282 acre
Reece Mcitel tsar a Complexity © | » Facility

Further, in PBF Energy, Inc.’s 2018 annual report, PBF refers to the Toledo refinery as one

of “Our Refineries” as seen in the image below*:

Our Refineries

The figures below are based off of our 2018 operations:

TOLEDO | PAULSBORO
REFINERY REFINERY

Res 36% of East Coast

Bit 3 be tS
taal lad ital ing

Processes 88% Exported over 22%

heavy and medium Ee
Peat Beli Peper tint reig)

Un eens] coking capacity
including gasoline,
Ces
te Rag |

  

Additionally Chairman and CEO of PBF Energy, Inc. Thomas Nimbley, stated in his address
to shareholders that

“We completed major turnarounds at our Chalmette, Toledo, Paulsboro and Delaware City
refineries.”

 

8 See Exhibit A.
° Ted
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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PBF Energy even has its own refinery manager for the Toledo Refinery, Mike Gudgeon,
whose job title is Refinery Manager-Toledo Refinery at PBF Energy as seen on his LinkedIn Page,

who no doubt runs operations for PBF Energy at the Toledo refinery.!'°

 

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Mike Gudgeon - 3rd or} PBF Energy
Refinery Manager at PBF Energy University of Birmingham

Oregon, Ohio - 336 connections - Contact info

Experience

PBF Energy

oo) 9 yrs 8 mas

Refinery Manager - Toledo Refinery
Aug 2017 ~ Present - 3 yrs 1mo
Toledo, Ohio Area

An article that ran in a Toledo, Ohio newspaper The Blade in June 2019 concerning shutting
down operations at the Toledo refinery in question because of a closed pipeline specifically named
PBF as the owner of the refinery and quoted several PBF employees for the article who had intricate

knowledge of the operations at the refinery.!!

 

'0 See Exhibit C, LinkedIn page of Mike Gudgeon.
" See Exhibit D , Tom Henry, Potential Line 5 closing has Toledo Refining Co., employees on edge, The Blade (June 18,
2019), https://www.toledoblade.com/local/environment/2019/06/18/toledo-refining-company-eyes-line-five
controversy-with-worries-about-shutdown-job-losses/stories/20190618002.

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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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Due to the facts laid out above, there can be no question that PBF Energy, Inc. owns, controls
and operates the Toledo refinery made the basis of this lawsuit where Plaintiff sustained injuries.

Plaintiff was working on a turbine, blower and heat expander which provides heat fuel through
the plant.'? Defendant, PBF, as owner of the Premises, was responsible for the scheduling and
coordinating of the work, including the subject lift that injured Plaintiff.'? Defendant PBF was
responsible for issuing work permits and ensuring the work conducted inside of the plant was being
done safely.'* Importantly, Defendant PBF reduced a significant amount of the work force at the
plant.'> This reduction left an insufficient number of workers to perform the job tasks safely.'®

At the time and place aforesaid, Defendant PBF and/or its agents, servants and/or employees,
were negligent, careless, reckless and/or unreasonable in performing and/or failing to perform such
actions and/or such omissions so as to render the Premises unsafe for Plaintiff Thomas H. Pillsbury,
Jr."

As a direct and proximate result of the negligent, careless, reckless and/or unreasonable
conduct of Defendant PBF, Plaintiff Thomas H. Pillsbury, Jr. suffered serious and permanent bodily
injuries which necessitated obtaining medical treatment, including surgery, and expending large sums
of money for medical care and attention, causing him pain and suffering, incapacitating him from

pursuing daily activities and attending to his usual occupation and business and leaving him with

 

'? See Complaint { 6.
13 la
14 Id.
'5 See Exhibit E, Laura Sanicola, PBF Toledo refinery to delay full restart after completing turnaround, Hydrocarbon
Processing (April 6, 2020), https:/Avww.hydrocarbonprocessing.com/news/2020/04/pbf-toledo-refinery-to-delay-full-
restart-after-completing-turnaround (“the refinery has also drastically reduced contract maintenance workers in the plant
in response to concerns over the spread of coronavirus, the sources said...) See Exhibit F, Anna Larionova, Refinery
Operating at minimum rates due to COVID-19 hit, Market Report Company (March 31, 2020),
http://www.mreplast.com/news-news_open-368419.html (“PBF Energy Inc said it was operating its refineries at
minimum rates, with throughput about 30% lower than the refiner’s expectations, as coronavirus-driven travel curbs hit
fuel demand”)
16 Id
'7 See Complaint § 7.
-10-
PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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permanent disabilities that will in the future similarly incapacitate him, cause him pain and suffering
and require medical treatment.!®

Defendant PBF Energy, Inc., (“PBF”) is the owner of the Premises and is a corporation
organized under the laws of the Delaware, which has its principal place of business at 1 Sylvan
Way, 2nd Floor, Parsippany, New Jersey, in the Town of Parsippany-Troy Hills, County of
Morris, State of New Jersey.!?

Il. APPLICABLE LEGAL STANDARD

A claim for relief must contain “a short and plain statement of the claim showing that the
pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). It is well settled that in reviewing a motion to
dismiss, a court must accept a plaintiff's allegations as true and construe them in the light most
favorable to the plaintiff. Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008). The court
must then determine whether under any reasonable reading of the complaint, the plaintiff may be
entitled to relief. Jd. Importantly, the Supreme Court has made clear that a complaint need not contain
detailed factual allegations; rather, it must contain “sufficient factual matter, accepted as true, to state
a claim to relief that is plausible on its face.” Ashcroft v. Igbal, 129 S.Ct. 1937, 1949 (2009).
Plausibility “does not impose a probability requirement at the pleading stage; it simply calls for
enough fact to raise a reasonable expectation that discovery will reveal evidence” of the alleged

misconduct. Twombly, 550 U.S. at 556. Thus, “a district court weighing a motion to dismiss asks ‘not

 

whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to
support the claims.’” /d. at 563 n.8 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).
“A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Jgbal, 129

 

18 See Complaint 4 8.
'9 See Exhibit G, Secretary of State Records.
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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S.Ct. at 1949 (emphasis added). “Determining whether a complaint states a plausible claim for relief
will... be a context-specific task that requires the reviewing court to draw on its judicial
experience and common sense.” Jd. at 1950.

Even if a plaintiff's allegations are insufficient by themselves, courts will still deny a motion
to dismiss under Fed. R. Civ. P. 12(b)(6) so long as the allegations in addition to inferences drawn
from those allegations, provide a basis for recovery. Menkowitz v. Pottstown Mem’! Med. Ctr., 154
F.3d 113, 124-125 (3d Cir. 1998).

As this Court recognizes, “[t]he defendant has the burden of demonstrating that venue is
improper.” Thomas Glob., 2016 WL 706194, at *3; see also Myers v. Am. Dental Ass'n, 695 F.2d
716, 724 (3d Cir. 1982) (“It logically follows therefore that on a motion for dismissal for improper

venue under Rule 12 the movant has the burden of proving the affirmative defense asserted by it.”);

 

St. Clair Intellectual Prop. Consultants, Inc. v. Mirage Sys., Inc., 419 F. Supp. 2d 620, 623 (D. Del.
Mar. 8, 2006) (“The moving party bears the burden of proving venue is improper.”). It is also
axiomatic that, in deciding a motion to dismiss/transfer for improper venue, the court “draws all
reasonable inferences and resolves all factual conflicts in the plaintiff's favor.” Thomas Glob., 2016
WL 706194, at *3 (citing Bockman v. First Am. Mktg. Corp., 459 F. App’x 157, 158 n.1 (3d Cir.
2012)).

Ii, ARGUMENT AND AUTHORITIES

Defendant’s Motion to Dismiss for Failure to State a Claim is nothing more than a veiled
attempt at a summary judgment motion which is improper at this juncture. Furthermore, Defendant’s
Motion to Dismiss for Improper Venue is similarly meritless. Defendant’s Motion must therefore be
denied.

A. THE COMPLAINT STATES CLAIMS FOR NEGLIGENCE AGAINST PBF
ENERGY, INC. THAT ARE PLAUSIBLE ON THEIR FACE

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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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In deciding Rule 12(b)(6) motions, the court is required to “accept all factual allegations as
true and construe the complaint in the light most favorable to the plaintiff.” Phillips v. County of
Allegheny, 515 F.3d 224, 231 (3d Cir. 2008)(citations omitted). The court must also “assume that all
general allegations embrace whatever specific facts might be necessary to support them.” Peloza v.
Capistrano Unified Sch. Dist., 37 F.3d 517, 521 (9th Cir. 1994).

Further, Defendant’s motion itself belies the fact that it is already fully aware of the nature of
the claims against it, both from the facts alleged in the complaint and as a result of Defendant’s years
of experience in workplace injury litigation.

The complaint states claims for negligence against PBF Energy, Inc. that are plausible
on their face, which is a// Plaintiff is required to do at this point in the pleadings stage. Fed. R.
Civ. P. 8(a)(2). Defendants state that Rule 8 “demands” more than this. It does not. Further, what
Rule 8 certainly does not demand is that Plaintiff proves his case at the pleadings stage. Nowhere in
Rule 8 does it state that Plaintiff has to provide support for its facts nor does Rule 8 include the word
“demand” despite Defendant’s melodramatic reinterpretation of the rules. Defendant attempts to
create a rule that simply does not exist in order to better tailor to its arguments. Furthermore, Rule 8
is liberal in its construction in that it states that “‘a party may state as many separate claims or defenses
as it has, regardless of consistency.” Id. at (d)(3).

Here, Plaintiff's factual allegations are not labels and conclusions, nor are they legal

conclusions couched as factual allegations. Plaintiff's Complaint is more than just “Defendants

 

 

negligently caused plaintiff's harm”, or “Defendants had a duty to plaintiff, which they breached, and
that breach caused plaintiff's harm.” It contains all necessary elements to state a cause of action
against defendants for negligence. Defendant confuses pleading requirements with evidentiary

requirements and attempts to confuse this Court of the same.

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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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Plaintiff stated in his complaint that Defendant, PBF, as owner of the Premises, was
responsible for the scheduling and coordinating of the work, including the subject lift that injured
Plaintiff. Plaintiff also alleged that PBF’s executive decisions, including capital expenditures and
work force reductions, substantially contributed to the incident made the basis of this lawsuit because
the reduced workforce did not provide a sufficient number of workers to do the lift that injured
Plaintiff. Therefore, in that vein, Plaintiff's Complaint contains factual allegations that PBF Energy
controlled Toledo Refining Company’s activities, either in general or with respect to the Turnaround

Project purportedly giving rise to Plaintiff's allegations.

 

Regardless, Plaintiff is not required to provide evidence at this point. That is what discovery
is for. Twombly, 550 U.S. at 556. Discovery will reveal more facts and more information during the
later stages of the litigation process, at which time Defendant PBF can file a motion for summary
judgment if it so chooses. /d. However, for now, what Plaintiff has pled in the Complaint is sufficient
pursuant to the rules and prevailing case law.

It should be clear for the record that Plaintiff did not sue Toledo Refining Company LLC.
Plaintiff has brought suit against its parent because PBF Energy, Inc. is the proper party according to
Plaintiff's allegations. Should the evidence reveal otherwise, Plaintiff has still properly pled a claim
against PBF and dismissal is inappropriate at this juncture.

For the reasons set forth above, Defendant’s Motion to Dismiss is meritless and must be
denied.

B. DEFENDANT HAS NOT MET ITS BURDEN OF DEMONSTRATING
IMPROPER VENUE.

- Defendant has not met its burden of demonstrating improper venue. Where, as here,
jurisdiction is based on diversity of citizenship under 28 U.S.C. § 1332, venue is proper in
(1) a judicial district where any defendant resides, if all defendants reside in the same State,

(2) a judicial district in which a substantial part of the events or omissions giving rise to the
claim occurred, or a substantial part of property that is the subject of the action is situated, or

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PLAINTIFF’S RESPONSE [N OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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(3) a judicial district in which any defendant is subject to personal jurisdiction at the time the
action is commenced, if there is no district in which the action may otherwise be brought.

28 U.S.C. § 1391(b) (emphasis added).

“A plaintiff need satisfy only one of the three [subsections of § 1391(a)] in order for venue
to be proper” (emphasis added). See, e.g., Superior Precast, Inc. v. Safeco Ins. Co. of Am., 7\ F. Supp.
2d 438, 443 (E.D. Pa. 1999)

1. The events or omissions giving rise to the claim occurred in New Jersey.

Defendant has failed to show that venue is improper under subsection (2) which states that a
“judicial district in which a substantial part of the events or omissions giving rise to the claim
occurred”.”° As PBF’s Chief Executive Officer Thomas Nimbley said after PBF’s acquisition of
Sunoco’s Toledo, Ohio Refinery that “PBF plans to retain substantially the same workforce at the
refinery.?! Toledo has talented and experienced employees and PBF looks forward to working with
them following completion of the acquisition”.?? Thomas D. O’Malley, PBF’s Chairman, said “The
Toledo acquisition provides PBF with growth in a different geographic area..”> Therefore this idea
that PBF somehow played no role in the Turnaround Project at the Toledo refinery is a fantasy.
Defendant PBF was responsible for issuing work permits and ensuring the work conducted inside of
the plant was being done safely.** Importantly, Defendant PBF reduced a significant amount of the
work force at the plant.” This reduction left an insufficient number of workers to perform the job
tasks safely.?° Defendant PBF Energy and/or its agents were negligent in performing and/or failing

to perform such actions and/or such omissions so as to render the Premises unsafe for Plaintiff

 

 

?° Plaintiff incorporates herein by reference all the information stated in Section I, Factual Background.

2! See Exhibit H, PBF to Acquire Sunoco’s Toledo Ohio Refinery, Business Wire (December 2, 2010),
https://www.firstreserve.com/news-articles/pbf-to-acquire-sunocos-toledo-ohio-refinery.

22 id.

23 Id.

4 See Complaint 4 2.

5 See Exhibits E and F.

26 Id.

   

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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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Thomas H. Pillsbury.?’ As a direct and proximate result of PBF Energy, Inc.’s unreasonable conduct,
Plaintiff suffered serious injury.*® If this Court chooses to look past this Complaint for more factual
allegations regarding reduced workforce, it need not look far. Several news outlets too have reported
that PBF Energy Inc. made drastic and significant cutbacks to its work force at the Toledo plant in
April 2020 and previously.2? According to one source, PBF Energy, Inc. said it was “operating its
refineries at minimum rates, with throughput about 30% lower than the refiner’s expectations...”°°.

PBF is headquartered in New Jersey. PBF maintains its principal place of business at 1 Sylvan

 

 

Way, 2nd Floor, Parsippany, NJ, 07054. The Secretary of State filings and PBF’s own website show
this to be true.?! Not surprisingly, Defendant intentionally omits this glaring and obvious fact from
its Motion. The fact that Defendant is headquartered in New Jersey is relevant to demonstrating that
a substantial part of the events giving rise to the claim occurred in New Jersey. The dominoes that led
to the incident commenced in New Jersey. PBF Energy made a decision to make a reduction in force
which would come from the executive level at PBF headquarters in New Jersey. But for PBF making
a reduction in force, this incident would not have happened. Notably subsection (2) can be satisfied
by demonstrating that venue is in the judicial district where a substantial part of omissions giving rise
to the claim occurred, PBF Energy, Inc. had significant omissions that led to this incident including
failing to ensure the work done inside the plant was done safely. At the core of this case are
Defendant’s acts and failures in ensuring it provided a work environment that was safe. This
emanates from New Jersey. Records related to agreements between PBF Energy, Inc. and other
Defendants would be at Defendant PBF Energy’s headquarters here in New Jersey. Defendant’s

managers, and employees involved in the key decision-making process for the job to be conducted at

 

27 See Complaint 7.
28 Td
29 See Exhibit E.
3° See Exhibit F.
3! See Exhibit I, PBF Energy Website, Contact Us. See Exhibit G.
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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the plant are in New Jersey. This also means that a significant number of witnesses reside in and will
be deposed/presented in New Jersey. Despite maintaining the headquarters for a majority of its
operations in this state, Defendant attempts to convince this Court that maintaining this lawsuit in
New Jersey would be improper for Defendant. The facts clearly belie Defendant’s arguments.
Defendant attempts to support its arguments for improper venue by way of an affidavit from
Marc Halley, Maintenance Manager of Toledo Refining Company LLC, attached to its Motion as
Exhibit A. This affidavit does little if anything to save Defendant’s argument. The contract may very
well have been negotiated in Ohio — although Plaintiff disputes this claim -- but the contract was most
likely drafted, executed and signed in New Jersey, if previous contracts between Toledo Refining
Company and other entities are any indication. For example, the Asset Sale and Purchase Agreement

in December 2, 2010 between Toledo Refining Company LLC and Sunoco, Inc., for the plant made

 

the basis of this lawsuit was signed by Jeffrey Dill, Secretary and Senior Vice President of PBF
Energy>?, who was located in New Jersey.

Second, the affidavit states that the contract between TRC and Jeffers Crane Service contains
a provision stating it will be governed by the law of Ohio and Ohio has jurisdiction over the contract,
as if this fact alone should be dispositive. This “forum selection clause” may at the most be controlling
for say, a breach of contract dispute between TRC and Jeffers Crane Service. However, Plaintiff was
not a party to this contract. Plaintiff was not the intended beneficiary of this contract. Plaintiff did
not consent to Ohio as the forum for his fort claims. This lawsuit involves a tort action. Therefore,
this fact should hold no weight in the venue analysis for this lawsuit.

Furthermore, case law has been clear that so-called “forum selection clauses” are not

dispositive for venue purposes. A valid forum selection clause requiring the parties to litigate in the

 

 

 

32 See Exhibit J, Asset Sale and Purchase Agreement. See Exhibit K, LinkedIn Page of Jeffrey Dill.
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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state or federal courts of a particular state does not render venue “improper” in a non-contractual
forum, provided that venue is otherwise proper in such forum. Jumara v. State Farm Ins. Co., 55 F.3d
at 877-79 (holding that because federal venue statue was satisfied in non-contractual forum, the
district court erred in dismissing a case pursuant 28 U.S.C. § 1406 for improper venue when plaintiff
filed an action in non-contractual forum); Albert v. Butterfield & Robinson, No. 01-CV-1724, 2001
WL 1175147, at *2 (citing Jumara and stating that “since venue is proper in this district, the court
cannot dismiss this matter for improper venue”).

Interestingly, on Marc Halley’s LinkedIn Page, he states that he is Maintenance Manager at
PBF Energy — Toledo Refining Company.*? The maintenance manager for the entire facility at
dispute works for PBF Energy. This evidence only reinforces the fact that PBF is the actual entity
that runs and operates the Toledo refinery, despite the separate entity. In Mr. Halley’s affidavit and
under his signature page, he claims that he is employed by Toledo Refining Company when in fact
his LinkedIn page states that he works for PBF Energy. This is a very important fact that is
conveniently missing from Mr. Halley’s declaration that he signed under penalty of perjury. He

contradicts himself in his affidavit. This evidence substantiates and bolsters Plaintiff's claim.

 

 

33 See Exhibit L, Marc Halley LinkedIn Profile.
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
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Marc Halley - 3rd Bag PBF Energy - Toledo
“Refining Company

Maintenance Manager at PBF Energy - Toledo Refining

Company

Toledo, Ohio Area - 500+ connections . Contact info

Experience

Maintenance Manager
PBF Energy - Toledo Refining Company - Full-time
Jul 2020 -Present - 2 mos

 

PBF Energy is trying to distance itself from Toledo Refining Company LLC although it is very much
involved in the day to day dealings of TRC.**

Under subsection (2), venue is proper in New Jersey and Defendant’s Motion to Dismiss for
Improper Venue must be denied.

2. Plaintiff should be allowed to conduct limited venue discovery.

Finally, if the Court decides that the factors set forth above are not sufficient for adjudicating
that venue is proper for PBF Energy, then Plaintiff respectfully requests that the Court permit Plaintiff
to conduct venue discovery to determine whether PBF Energy or its affiliates satisfies any of the
criteria enumerated in 28 U.S.C. § 1391. Furthermore discovery is necessary to afford Plaintiff a full

and fair opportunity to determine whether the factual allegations set forth in the Declaration of Marc

 

 

 

34 See Exhibit B; See Exhibit D.
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 
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Halley attached to Defendant’s Motion are true. There is no documentation appended to the
Declaration to support any of the allegations therein, and on its face, the Declaration raises more
questions than it answers. The Supreme Court has held that “where issues arise as to jurisdiction
or venue, discovery is available to ascertain the facts bearing on such issues.” Oppenheimer Fund,
Inc. v. Sanders, 437 U.S. 340, 351 n.13 (1978) (emphasis added).

Cc. DEFENDANT HAS FAILED TO DEMONSTRATE THAT A TRANSFER TO
NORTHERN DISTRICT OF OHIO IS APPROPRIATE

As an alternative to dismissal, PBF Energy argues that this Court transfer this case to the
Northern District of Ohio under 28 U.S.C. § 1406(a), which states that “[t]he district court of a district
in which is filed a case laying venue in the wrong division or district shall dismiss, or if it be in the
interest of justice, transfer such case to any district or division in which it could have been brought.”

For the reasons discussed, supra, in Part B of this Response, venue is proper in New Jersey
and, as a result, § 1406(a) does not apply here. Jimara, 55 F.3d at 878.

Even so, as with the defense of improper venue, the burden of establishing the need for transfer

rests squarely with Defendant PBF Energy, the movant. Moreover, the Third Circuit has clearly stated

 

 

that transfers should not be liberally granted. See Jumara v. State Farm Ins. Co., 55 F.3d 873, 879
(3d Cir.1995); Plum Tree, Inc v. Stockment, 488 F.2d 754, 757 n.2 (3d Cir. 1973).

“A plaintiff is not obligated to file an action in the most convenient forum, only in a proper
forum.” 17-111 Moore’s Fed. Prac-Civil 110.01[4][a] (2005). Furthermore, the plaintiff's choice of
forum is afforded great deference in the Third Circuit. “First, it is well-established that a plaintiff's
choice of forum is ‘a paramount consideration in any determination of a transfer request.’
Shutte v. Armco Steel Corp., 431 F.2d 22, 26 (3d Cir. 1970). See also Shore Slurry Seal, Inc. v. CMI
Corp., 964 F. Supp. 152, 156 (D.N.J. 1997) (stating choice of proper forum by plaintiff is “paramount
consideration” in transfer analysis); Newcomb v. Daniels, Saltz, Mongeluzzi & Barrett, Lid., 847 F.

Supp. 1244, 1246 (D.N.J. 1994) (stating choice of forum by plaintiff is accorded “significant weight”)

 

PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM AND FOR IMPROPER VENUE

 

 
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Accordingly, “[uJnless the balance is strongly tipped in favor of the defendant, the plaintiff's choice
of forum should not be disturbed.” Hoffer v. Infospace.com, Inc., 102 F. Supp. 2d 556, 573 (D.N.J.
2000).

Plaintiff respectfully asks this Court to deny Defendant’s Motion to Transfer this case to
Northern District of Ohio for the reasons set forth above. New Jersey is proper venue because all or
substantially all of the acts giving rise to the claim occurred in New Jersey. In the interests of justice,
this Court cannot transfer this case lest Plaintiff’s claim and remedy at law be extinguished.

D. PLAINTIFF SHOULD BE GIVEN LEAVE TO AMEND THE COMPLAINT

Although Plaintiff is confident that the counts Defendant claims should be dismissed state a
valid claim under the applicable law, if this Court should dismiss any of the claims, Plaintiff would
respectfully ask that he be given leave to amend and re-plead any of them. Leave is particularly
appropriate as the crux of most of Defendant’s arguments center around deficiencies in pleading
sufficient facts in support of certain claims. Generally, leave to amend under Federal Rule of Civil
Procedure 15(a) is given freely. Foman v. Davis, 371 U.S. 178, 182 (1962); Saewitz v. Lexington Ins.
Co., 133 F. App’x 695, 699 (11th 8 Cir. 2005) (per curiam).

CONCLUSION AND PRAYER

For the foregoing reasons, Plaintiff respectfully requests that this Court deny Defendant PBF
Energy, Inc.’s Motion to Dismiss for Failure to State a Claim and for Improper Venue as Defendant’s
Motion is improper and without merit. Alternatively, Plaintiff respectfully asks that he be given leave
by this Court to re-plead any of their claims as allowed by the Rules and pursuant to applicable case

law. Plaintiff further prays for any other relief to which he may show himself justly entitled.

 

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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
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Respectfully submitted,

THE BUZBEE LAW FIRM

/s/ Cornelia Brandfield-Harvey
Anthony G. Buzbee

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Succasunna, New Jersey 07876
Telephone -- (973) 940-8970

Attorneys for Plaintiffs Thomas H.
Pillsbury Jr. and Melody Pillsbury

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was served via ECF
by August 25, 2020, upon the following:

Riccardo M. DeBari
THOMPSON HINE LLP
335 Madison Avenue

12th Floor

New York, New York 10017

Attorney for Defendant PBF Energy, Inc.

fs/ Kevin Kutyla
Kevin Kutyla
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PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT PBF ENERGY, INC.’S MOTION TO DISMISS
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PAGE 2

To Our Shareholders,

“We believe our responsibility to our
employees, neighbors, shareholders and
the environment is only fulfilled through
our commitment to safety and reliability.”

—Tom Nimbley, Chairman and Chief Executive Officer

in 2018, PBF Energy celebrated its

10th anniversary, including six years

as a public company. From humble
beginnings in a single office, with no
assets and under a dozen employees,
we have enjoyed tremendous growth to
our current size of approximately 3500
employees, five refineries and numerous
terminals, pipelines and other assets
that facilitate our operations across

the United States. PBF Energy’s core
principles exist in the safe, reliable and
environmentally responsible operations
of our assets, the production of

the cleanest fuels possible and that
everyone in our company plays a
critical role in PBF’s success.

We believe our responsibility to our
employees, neighbors, shareholders
and the environment is only fulfilled
through our commitment to safety
and reliability. Starting with rigorous
training, sharing of expertise across
our sites, continuous monitoring

and through promoting a culture of
excellence in operations we keep our
people, the communities in which we
operate and the environment safe.

In 2018, we invested over $550 million
in turnaround, maintenance and other
strategic capital expenditures to

improve reliability, reduce environ-

 

We processed more than 849,000
barrels per day of crude oil and other
inputs, and produced almost 855,000
barrels per day of finished products.
Over 85 percent of the 310 million
barrels of products we produced
were high-value distillates, gasoline,
lube oils and specialty chemicals, which
in total generated $838 million of cash
from operations.

In 2018, excluding special items, PBF
generated EBITDA of approximately
$1.1 billion and operating income of
$718 million for the year, resulting in
adjusted fully-converted net income of
$3.26 per share, on a fully-exchanged
and fully-diluted basis. On a consolidated
basis, we invested over $734 million

in the business through turnarounds,
capital expenditures and acquisitions at
the PBF Logistics level. On a consolidated
basis, we finished 2018 with a year-

end cash balance of $597 million, total
liquidity of approximately $1.9 billion
and a net debt to capitalization ratio
of 27 percent, excluding special items.

PBF Energy continued rewarding our
shareholders in 2018 with a regular
annual dividend, paid quarterly, of
$1.20 per share. In 2018, PBF paid

out $139 million in four separate
non-tax distributions. This represents
a payout of approximately 36 percent
of adjusted fully-converted net income
excluding special items in 2018.

Our partner, PBF Logistics (or the
“Partnership”), continued delivering
strong financial results and distribution
growth to its unit holders. Early in
2018, the Partnership announced

a multi-year organic growth plan that
is expected to increase Partnership
EBITDA by over 65 percent on an
annualized basis once complete and

in service. In addition to the organic
growth pipeline, the Partnership
continued focusing on accretive strate-
gic acquisitions in 2018, PBF Logistics
completed two third-party acquisitions
including that of the East Coast
Storage Assets from Crown Point
International, LLC. The East Coast
Storage Assets include a storage facility
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PBF ENERGY / 2018 ANNUAL REPORT

with approximately four million barrels
of multi-use storage capacity (of which
over 50 percent is heated storage),

an Aframax-capable marine facility,

a rail facility, a truck terminal, equipment,
contracts and other assets. With close
proximity to the Paulsboro refinery, we
expect there will be synergy opportu-
nities between PBF Logistics and PBF
Energy. Since the time of its initial public
offering, PBF Logistics has supported a
compound annual distribution growth
rate of approximately |2 percent
through the end of 2018, with a current
annualized distribution of $2.02 per unit.

Subsequent to year-end, in February
of 2019, PBF Energy and PBF Logistics
eliminated the incentive distribution
rights held by PBF Energy in exchange
for the issuance of 10,000,000
common units. As a result of this
transaction PBF Energy currently
owns approximately 54 percent of
PBF Logistics and 100 percent of the
general partner. This transaction
simplifies our corporate structure
and more closely aligns us with our
logistics partner. PBF Energy has
demonstrated its continuing support
for,and commitment to, PBF Logistics
and we value our relationship as

a necessary component to the contin-

ued growth of both companies.

Executing our foundational growth
strategy has helped us build a company

that is capable and poised for future

success. We believe that opportunities
to expand our business through mean-
ingful asset or corporate acquisitions
exist and part of our job is to put our
company, and our balance sheet, in

a position to execute when those

opportunities present themselves.

As we look forward in 2019, we have
our sights set on safe, reliable opera-
tions, and putting our pure-play refining
company in a position to succeed and
grow, We believe that global demand
for petroleum products will contin-

ue to increase and support a strong
refining environment. We are also
edging closer to implementation of the
International Maritime Organization's
regulations that will reduce allowable
sulfur levels in fuels being used in the
shipping industry. Scheduled to become
effective in January of 2020, these
regulations could potentially drive
wider light — heavy spreads for feed-
stocks with higher sulfur content and

also increase demand for low-sulfur

 

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PAGE 3

distillates. This could potentially be

a double benefit for refiners capable
of processing high-sulfur inputs to
produce high-quality, low-sulfur,
high-value fuels. PBF Energy, with its
high-complexity refining system, is
well positioned to benefit and we are
actively increasing our advantage by
investing in strategic, high-return proj-
ects at our Chalmette and Delaware
City refineries that will come online in

the next twelve months.

Before closing, we would like to thank
our Board of Directors, present and
past, for their continuing stewardship
and guidance. Additionally, we would
like to thank all of PBF's employees
for their dedication and commitment;
they are the foundation of our compa-
ny and responsible for any successes
PBF Energy enjoys.

Finally, we thank our shareholders
for your continuing support. We are
working diligently to reward the trust
you have placed in us.

Sincerely,

ra No

Tom Nimbley
Chairman and
Chief Executive Officer
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PAGE 4

Our Refineries

The figures below are based off of our 20/8 operations:

PAULSBORO
REFINERY

UR DELAWARE CITY
REFINERY esa iad

aig [e CHALMETTE
ag tia ita tia

36% of East Coast
coking capacity

Yields 92% 64% of East Coast
high-value products coking capacity
tele tiateerse tye) Teton
distillate
and chemicals

Processes 88% Ledolelax-teite hl 22%
heavy and medium of its total
- crude oils production

   

TOLEDO

    
 

~~ PAULSBORO

» DELAWARE
CITY

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CHALMETTE

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PBF ENERGY INC. AND PBF ENERGY COMPANY LLC
NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
(IN THOUSANDS, EXCEPT SHARE, UNIT, PER SHARE, PER UNIT AND BARREL DATA)

1. DESCRIPTION OF THE BUSINESS AND BASIS OF PRESENTATION

Description of the Business

 

Pits Subs sidiari esi ies) PBF Energy consolidates the financial results of PBF LLC

oe

and its subsidiaries and records a noncontrolling interest in its consolidated financial statements representing the
economic interests of PBF LLC’s members other than PBF Energy (refer to “Note 15 - Noncontrolling Interests”).

 

 

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by parties other than PBF Energy (the n members of PBF LLC other than PBF Energy”), hold the remaining 1.0%
economic interest in PBF LLC. The PBF LLC Series C Units rank on parity with the PBF LLC Series A Units as
to distribution rights, voting rights and rights upon liquidation, winding up or dissolution. In addition, the amended
and restated limited liability company agreement of PBF LLC provides that any PBF LLC Series A Units acquired
by PBF Energy will automatically be reclassified as PBF LLC Series C Units in connection with such acquisition.

   

   
  

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Se rar Holding Company LLC (“PBF Holdin 2”) is a wholly

‘Investments LLC (“PBF Investments”), Toledo SE Can pa Ge ToledoR idreiRG*)eP
Refining Company LLC (“Paulsboro Refining” or “PRC”), Delaware City Refining Company LLC (“Delaware
City Refining” or “DCR”), Chalmette Refining, L.L.C. (“Chalmette Refi ining”), PBF Western Region LLC (“PBF
Western Region”), a SEES Compan Torrance Refining”) and Torrance Logistics Company LLC
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or areas of the Notes to Consolidated Financial Statements that either apply only to PBF Energy or PBF LLC are

clearly noted in such footnotes.

 
   

      
    

      

At December 31, 2018, PBF LLC also held a 44.0% limited partner interest and all of the incentive distribution
rights in PBF Logistics LP (“PBFX”), a publicly-traded master limited partnership (“MLP”) (refer to “Note 3 -
PBF Logistics LP”). PBF Logistics GP LLC (“PBF GP”) owns the noneconomic general partner interest and serves
as the general partner of PBFX and is wholly-owned by PBF LLC. PBF Energy, through its ownership of PBF
LLC, consolidates the financial results of PBFX and its subsidiaries and records a noncontrolling interest in its
consolidated financial statements representing the economic interests of PBFX’s unitholders other than PBF LLC
(refer to “Note 15 - Noncontrolling Interests”). Collectively, PBF Energy and its consolidated subsidiaries, including
PBF LLC, PBF Holding, PBF GP and PBFX are referred to hereinafter as the “Company” unless the context
otherwise requires.

Substantially all of the Company’s operations are in the United States. The Company operates in two reportable
business segments: Refining and Logistics. The Company’s oil refineries are all engaged in the refining of crude
oil and other feedstocks into petroleum products, and are aggregated into the Refining segment. PBFX isa publicly-
traded MLP that was formed to operate logistical assets such as crude oil and refined petroleum products terminals,
pipelines and storage facilities. The Logistics segment consists solely of PBFX’s operations. To generate earnings
and cash flows from operations, the Company is primarily dependent upon processing crude oil and selling refined
petroleum products at margins sufficient to cover fixed and variable costs and other expenses. Crude oil and refined
petroleum products are commodities; and factors that are largely out of the Company’s control can cause prices
to vary over time. The resulting potential margin volatility can have a material effect on the Company’s financial
position, earnings and cash flow.

Public Offerings

In connection with certain of the secondary offerings completed in 2015, 2014 and 2013, investment funds
associated with the initial investors in PBF LLC exchanged all of their PBF LLC Series A Units for an equal number
of shares of PBF Energy Class A common stock which were subsequently sold to the public and, accordingly, no

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Refineries = P

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PBF Energy is one of the largest independent petroleum refiners and suppliers of
unbranded transportation fuels, heating oil, petrochemical feedstocks, lubricants
and other petroleum products in the United States.

Delaware City, DE

 

The Delaware City refinery has a throughput capacity of 190,000 bed
and a Nelson complexity rating of 11.3. As a result of its configuration and
petroleum refinery processing units, Delaware City has the capability to
process a diverse heavy slate of crudes with a high concentration of high
sulfur crudes making it one of the largest and most complex refineries on
the East Coast

The refinery is located on a 5,000-acre site on the Delaware River, with
the ability to accept crude by rail or walterbome cargoes. It possesses an
extensive distribution network of pipelines, barges and tankers, truck and
rail for the distribution of its refined products.

 

Delaware City
Quick Facts

190,000bpd 11.3 Nelson 5,QO00 acre
Production Complexity Facility

Paulsboro, NJ

 

The Paulsbaro refinery has a throughput capacity of 180,000 bpd and a
Nelson complexity rating of 13,2, Itis located on approximately 950 acres
on the Delaware River In Paulsboro, New Jersey, just south of

Attys: Awww. pbfenergy.com refineries!
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Refineries ~ PBF Energy
ve x Sy | Philadelphia and approximately 30 miles North of the Delaware City
refinery,

   
   

The Paulsboro refinery processes a variety of medium and heavy sour
crude oils and predominantly produces gasoline, heating oil and aviation
jet fuel. The refinery also manufactures Group | lubricant base oils. In
addition to its finished clean products slate, Paulsboro produces asphalt
and petroleum coke

Paulsboro
Quick Facts

180,000bpd 13.2 Nelson 950 acre
Production Complexity Facility

Toledo, OH

 

The Toledo refinery has a throughput capacity of approximately 170,000
bpd and a Nelson complexity rating of 9.2. Toledo processes a slate of
light, sweet crudes from Canada, the Mid-cantinent, the Bakken region
and the U.S. Gulf Coast. Toledo produces a high volume of finished
Products including gasoline and ultra-low sulfur diesel, in addition to a
variety of high-value petrachemicals including nonene, xylene, tetramer

and toluene.

The Toledo petroleum refinery is located on a 282-acre site near Toledo,
Ohio, 60 miles south of Detroit, Major units at the Toledo refinery include
an FCC unit, a hydrocracker, an alkylation unit and an UDEX unit. Crude
is delivered to, and finished products are exported from, the Toledo
refinery primarily through a network of pipelines.

 

Toledo
Quick Facts

170,000bpd 9.2 Nelson 282 acre
Production Complexity Facility

bups: www, phfenergy.com refineries 24
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Chalmette
Quick Facts

189,000bpd
Production

Torrance, CA

Case 2:20-cv-09301-MCA-LDW Document, ¢

2d 08/25/20 Page 30 of 57 PagelD: 89

New Orleans, LA

 

 

12.7 Nelson
Complexity

 

The Torrance refinery Is located in Torrance, California, and processes a
blend of primarily heavy and medium crudes to produce a high-value
product slate, The Torrance refinery has a nameplate crude capacity of
155,000 barrels per day with a Nelson Complexity Index of 14.9.

The Torrance refinery is located on a 700-acre site in Torrance,
California, It recelves Its crude oll primarily through a direct pipeline
connection to California central valley and also has access to waterbome
feedstocks through the Ports of Los Angeles and Long Beach. The
refinery produces approximately 1.8 billion gallons of gasoline per year,
which represents approximately ten percent of the gasoline demand in
California, In addition to blending three grades of gasoline, Torrance
produces diesel fuel, jet fuel, liquefied petroleum gases (LPGs), coke and
sulfur. The refinery ships products to customers via a series of proprietary
pipelines and terminals throughout the region via truck, rall, barges, and
ships.

Torrance
Quick Facts

155,000bpd
Production

hutps: www pbfenergy.com refineries

14.9 Nelson
Complexity

The Chalmette Refinery, located outside of New Orleans, Loulsiana, is a
189,000 barrel per day, dual-train coking refinery with a Nelson
Complexity of 12.7 and Is capable of processing both light and heavy
crude oll, The facility Is strategically positioned on the Gulf Coast with
strong logistics connectivity that offers flexible raw material sourcing and
product distribution opportunities, including the potential to export
products.

The Chalmette refinery processes a variety of crude olls and
predominantly produces gasoline, distillates and specialty chemicals.

The refinery distributes Its products locally and exports to domestic and
international markets through pipeline and maritime assets.

Import &
Export

 

700 acre
Facility
8/25/2020

Refineries ~ PBF Energy

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Martinez, CA

 

The Martinez refinery is PBF Energy's most recent acquisition. The
157,000 barrel-per-day, dual-coking refinery ts located on an 860-acre
site in the City of Martinez, 30 miles northeast of San Francisco,
California. The refinery is a high-conversion facility with a Nelson
Complexity Index of 16.1, making it one of the most complex refineries in
the United States. The facility is strategically positiened in Northern
California and provides for operating and other synergies wilh PBF's
Torrance refinery located in Southern California. In addition to refining
assets, the transaction includes a number of high-quality onsite logistics
assets including a deep-water marine facility, product distribution
terminals and refinery crude and product storage facilities with
approximately 8.8 million barrels of shell capacity.

Quick Facts

157,000bpd 16.1 Nelson 860 acre
Production Complexity Facility

 

   

 

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Potential Line 5 closing has Toledo

Refining Co., employees on edge

  

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TOM HENRY
The Blade
thenry@theblade.com W

 

JUN 18, 2019

 

 

 

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The 645-mile pipeline known as Line 5 has become one of North

America’s biggest environmental controversies because of what it

could do to the Great Lakes if the metal ever bursts.

Line 5 runs across the Straits of Mackinac, the line between Lake
Michigan and Lake Huron, and opponents worry a pipeline failure
could jeopardize the health of the Great Lakes, the world’s largest

source of fresh water.

 

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But 350 miles away from the straits, employees at the 122-year-old
Toledo Refining Co. are eyeing the Line 5 controversy for a
different reason: If the pipeline shuts down, officials at the East
Toledo refinery worry an imminent closure of their operation
could follow. That could mean the loss of 550 relatively high-
paying jobs held by the men and women who work at the former
Sunoco refinery.

That, according to refinery officials, would occur if the state of
Michigan keeps Line 5 from delivering light sweet crude and
natural gas for any length of time. The Toledo Refining plant has
been heavily reliant on Line 5 for light sweet crude for most of the
66 years the pipeline has existed.

The Editorial Board
&i| Keep pipeline open

 

Brendan Williams, the chief policy adviser in Washington for PBF
Energy, which owns the refinery, said nobody wants to
compromise the Great Lakes, but Line 5 is a critical fuel supply,
especially for Toledo Refining, which it says has no viable
alternatives if the line is taken out of service. The refinery is not
set up to off-load large shipments of crude transported by rail or
truck, and the light sweet crude it gets from Line 5 could be
contaminated if it is delivered by the next closest pipeline, Line
6B/78, because that one is mostly dedicated to heavy crude.

Line 6B/78 cuts from Sarnia in Ontario to Gary, Ind., running
northwest of Detroit.

“There aren't any pipeline alternatives,” Mr. Williams said.

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8/25/2020

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imike Guageon, br S Loledo Kelining manager, agreea.

“I think it's worth emphasizing: We just want to be part of the
conversation,” Mr. Gudgeon said. “This is a significant issue and
we haven't been included. If Line 5 is shut down, it will jeopardize
the continued operation of this facility.”

The BP-Husky refinery in Oregon, the Marathon Oil refinery in
Detroit, and other refineries would be affected as well.

A growing chorus of Toledo-area industry, union, and government
sources are now amplifying those fears and their belief that a
shutdown would drive up prices for flights out of Detroit Metro
Airport and gasoline prices for motorists. The two Toledo-area

refineries provide that airport with most of its jet fuel, followed by
Marathon.

   
 

Asha Prihar
Dana Inc. transfers retirement plan debt

Those worried about the fate of Line 5 include Ohio Gov. Mike
DeWine, who on Monday sent Michigan Gov. Gretchen Whitmer a
letter pleading with her to not let it shut down permanently.

“Ohio has two refineries near the border that supply a significant
percent of gasoline, diesel, and jet fuel to Ohio and southeast
Michigan,” Mr. DeWine’s letter states. “In fact, our refineries
supply the majority of aviation fuels to Detroit Metro Airport that
cannot currently be replaced in any significant capacity without
Line 5. As you know, losing Line 5 would also put more than 1,000
good-paying union jobs at risk in Ohio and Michigan. Our states
have much at risk in terms of potential fuel price spikes, lost jobs,
airline schedule disruptions and lost transportation project
funding.”

Similar letters were sent earlier this month by Toledo Mayor Wade
Kapszukiewicz and Oregon Mayor Michael J. Seferian, as were

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Journeymen and Apprentices of the Plumbing and Pipefitting
Industry of the United States and Canada, Northwest Ohio
Building Trades, and the North America’s Building Trades Unions.

Likewise, Ohio Lt. Gov. Jon Husted tried to calm Toledo Refining
employees with a visit near the Woodville Road entrance on
Tuesday, a stop designed to let them know the DeWine
administration stands behind them.

In an interview with The Blade last week, four officials associated
with PBF Energy used the word “crisis” to describe how tense the
situation has become to them.

Governor Whitmer and Michigan Attorney General Dana Nessel —
who both campaigned in support of shutting down Line 5 — have
said they are days away from issuing the new administration’s
position on Line 5’s fate.

The two Democrats both campaigned in favor of shutting it down,
but Ms. Whitmer appears to be somewhat flexible if an agreement
can be reached on expedited construction of a $500 million tunnel
that Line 5’s Calgary-based owner, Enbridge, convinced former
Michigan Gov. Rick Snyder, a Republican, was a workable
compromise.

Ms. Whitmer’s decision apparently depends on how fast Enbridge,
one of America’s largest pipeline companies, could build the
tunnel and what more it could do in the interim to ensure safety.
Enbridge originally told Mr. Snyder it envisioned a seven- to 10-
year timetable; it later told Ms. Whitmer it could do it in five years
or less. Now the company is in discussions with her about possibly
trying to do the work in two years or less.

During a recent summit on Mackinac Island, Ms. Whitmer told
reporters she is running out of patience and that the thought of all
that fresh water being put at risk weighs on her mind daily.

Regardless what the governor decides, Ms. Nessel believes that as
attorney general, she has the legal power to immediately shut

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“Attorney General Nessel is properly focused on the very serious
threat that the continued operation of Line 5 poses to the
environment and the economy of all Great Lakes states and the
province of Ontario,” Kelly Rossman-McKinney, a spokesman for
Ms. Nessel, said in an email. “A spill from Line 5 would potentially
impact the drinking water for tens of thousands of Michigan
residents and would cause billions in damages to the environment
and economy of the State, including lost tourism and recreation
jobs, as well as lowering property values.”

Ms. Nessel’s office seemed unfazed by the claims made by Mr.
DeWine, PBF, and others here about refinery jobs and lost
gasoline and jet fuel from a shutdown.

“There is no independent information available that supports
claims that shutting down Line 5 will cost thousands of jobs, cut
off jet fuel supplies to Metro Airport, or significantly affect the
availability and price of gasoline,” according to Ms. Rossman-
McKinney’s email. “While Attorney General Nessel recognizes the
concerns regarding the potential impacts of decommissioning Line
5, the bottom line is that the protection of the Great Lakes and the
entire Great Lakes basin must be our highest priority.”

Enbridge spokesman Ryan Duffy said it will take two years alone
just physically boring through Lake Michigan’s bedrock once
engineering is completed and the tunnel is ready to be
constructed. The tunnel-boring machine, which would start on the
north side near St. Ignace, Mich., is expected to go no more than
4O feet a day, he said.

“We’re open to having more discussions. We’re committed to full
transparency,” Mr. Duffy said. “We can’t agree to be shut down in
two years. The current pipeline is safe.”

Enbridge has asked a Michigan court of claims for a ruling on
whether the Whitmer administration or Ms. Nessel can legally
shut down Line 5.

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fossil fuels as Earth’s climate becomes more erratic and
unpredictable — has been amplified at high-profile protests of
recent years involving the Keystone XL Pipeline and the Dakota
Access Pipeline.

But Line 5 has become an especially hot topic because of an
anchor strike that dented it in early 2018. The line is 30 inches
thick, except between Michigan’s Upper and Lower Peninsulas,
where it has a pair of 20-inch lines that were installed as a safety
feature when Line 5 was put into service in 1953, Mr. Duffy said.

The line itself was built with a goal of providing the Great Lakes
more safety from oil spills. At the time, public officials wanted it to
keep oil tankers from plying the water, Mr. Duffy said.

Many people saw the anchor strike as a wake-up call and a factor
in last fall’s Michigan gubernatorial election, especially with the
Snyder administration still reeling from the Flint water crisis that
became a worldwide story in 2014.

Another political dynamic is Enbridge’s recent history. The
company is still trying to repair its image from the 2010
Kalamazoo River oil spill near Marshall, Mich., 120 miles
northwest of Toledo. That spill is one of the largest inland oil spills
in U.S. history.

PBF officials said the company has taken lessons from the 2010
Kalamazoo River spill to heart.

“They have done a lot of work to repair their reputation, which was
horribly damaged,” said Scott Hayes, Toledo Refining’s health,
safety, environmental and governmental affairs manager.
“Regardless what you think about Enbridge, it [the fall 2018
tunnel agreement] is a very, very good plan for Michigan and
Ohio.”

Spokesmen from BP and Marathon have echoed PBF’s concerns
when it comes to the problems they anticipate should Line 5 be
shut down.

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across the Midwest,” Michael Abendhoff, BP America Inc.’s media
affairs director, said.

Jamal T. Kheiry, Marathon Petroleum Corp. communications
manager, said there isn’t enough capacity on alternate pipelines
for refineries that are able to use them.

“Because the alternative pipeline routes into Michigan do not have
space available to support the Line 5 volumes, other, more
expensive modes of transportation would be required. Ultimately,
consumers could be affected as transporting energy into Michigan
becomes more expensive,” Mr. Kheiry said.

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Tom Henry
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State action increases childcare options for working
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Catawba Island.

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Lucas County Common Ex-strip club owner sentenced
Pleas Court before Judge
Robert Christiansen, who
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police presence Monday, Aug.
24, 2020, at the Glendale
Avenue side of Swan Creek
Preserve Metropark in Toledo,

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robust free play offering, ‘Final Fantasy XIV' Is the new king of the MMO

bringing it some well Mountain

deserved buzz.

One injured in central Toledo shooting

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the noon broadcast on WTVG-
TV, Channel 13 on October
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WHAT DO YOU THINK?

In your opinion, will this
year's Republican National
Convention generally serve to
expand or shrink President
Trump's voter base?

CQ) I think it will expand it

© tm not sure, it could go either way
QD A think it will shrink it Oo
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OC Other / No opinion

 

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8/25/2020 PBF Toledo refinery to delay full restart after completing turnaround

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PBF Toledo refinery to delay full
restart after completing
turnaround

4/6/2020

BF Energy Inc is indefinitely delaying the restart of several units including a cat cracker and a crude unit
at its 170,000 barrel-per-day refinery in Toledo, Ohio, due to poor refinery economics, according to
sources familiar with the matter.

The units were taken offline earlier this year as part of a plant turnaround, but since that time the spread
of the novel coronavirus has sapped demand for key products including gasoline and jet fuel.

The restart of the refinery’s gas plant and alkylation unit will also be delayed from their initial targeted
early April restart, the sources said. Some units will be brought back online in the coming days, they said,
and the refinery will continue to focus on chemical and diesel production.

PBF Energy did not respond to a request for comment.

The refinery has also drastically reduced contract maintenance workers in the plant in response concerns
over the spread of coronavirus, the sources said.

Analysts have said that refineries in the U.S. Midwest and Rocky Mountains that mostly produce gasoline
and have limited storage space for crude and refined products are vulnerable to shutdowns as stocks
build.

Reporting by Laura Sanicola; Editing by Lisa Shumaker

From the Archive

e Six considerations for turbomachinery control upgrades (/magazine/20 1 8/august-20 18/special-
focus-fluid-flow-and-rotating-equipment/six-considerations-for-turbomachinery-control-upgrades)

¢ Viewpoint: “Intelligizing” the refinery for business sustainability (/magazine/2016/june-
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e Business Trends: Global petrochemical overview-Part 1 (/magazine/201 6/april-2016/trends-and-
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(/magazine/2016/february-201 6/special-report-clean-fuels-and-the-environment/maximize-
petrochemicals-in-the-fccu-to-boost-refinery-margins-improve-gasoline-pool-quality)

* Business Trends: Clean fuels—a global shift to a low-sulfur world (/magazine/2016/february-
2016/trends-and-resources/business-trends-clean-fuels-a-global-shift-to-a-low-sulfur-world)

© Top seven causes for lost olefin production (/magazine/2015/april-2015/special-report-
petrochemical-developments/top-seven-causes-for-lost-olefin-production)

Comments

 

 

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https://www.hydrocarbonprocessing com/news/2020/04/pbf-toledo-refinery-to-delay-full-restart-after-completing-tumaround

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Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 44 of 57 PagelD: 103

8/25/2020 Refiner operating at minimum rates due to COVID-19 hit | Market Report Company - analytics, Prices, polyethylene, polypropylene, polyvinylchloride

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fea Russia, Ukraine, Belarus, Kazakhstan, Uzbekistan

20.08.2020. PVC imports to Belarus up by 9.3% in H

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Refiner operating at minimum rates due to COVID-19 hit
March 31/2020

MOSCOW (MRC) -- PBF Energy Inc said it was operating its refineries at minimum rates, with throughput about 30% py
lower than the refiner’s expectations, as coronavirus-driven travel curbs hit fuel demand, said Reuters. ‘

 

The company also announced sweeping cost-cutting measures, including scrapping its dividend, to tackle the
demand shock from the virus pandemic as travel restrictions have led to grounding of flights and fewer vehicles on
roads,

The refiner announced pay cuts taken by company executives and employees, with Chief Executive Officer Thomas
Nimbley taking a 67% cut, while the board and executive leadership have halved their compensation.

The refiner expects to lower 2020 operating expenses by about $125 million and will reduce capital expenditure for
the year by $240 million or 35%, including spending on the newly acquired Martinez refinery.

The company also withdrew its throughput outlook for the first quarter and 2020, and said it was suspending its
quarterly dividend of USD0,30 per share.PBF also agreed to sell five hydrogen plants to Air Products and Chemicals
Inc for USD5S30 million in cash.

 

As MRC informed earlier, US refiner PBF Energy has completed its acquisition of Shell's 157,000 bbl/day Martinez
refinery near San Francisco, California. The USD1bn deal, agreed in June 2019, was completed effective 1 February
2020.

PBF Energy and Shell have agreed to jointly move forward with reviewing the feasibility of building a proposed
renewable diesel project which would repurpose existing idled equipment at the Martinez refinery to create a
renewable fuels production facility. The detailed feasibility review and planning for this project is expected to
continue after deal closing.

As MRC informed earlier, in March 2019, Mammoet safely completed a critical lift at Shell's Pennsylvania Chemicals
Project in Potter Township, utilizing its MSG80 to hoist a 2,000 ton quench tower into position. The facility is the first
major US project of its kind to be built outside of the Gulf Coast region in 20 years. Once operational, the facility will
boast an ethane cracker and three polyethylene units, and is expected to employ up to 600 employees.

Ethylene and propylene are feedstocks for producing polyethylene (PE) and polypropylene (PP).

According to MRC's ScanPlast report, Russia's estimated PE consumption totalled 2,093,260 tonnes in 2019, up by
6% year on year. Shipments of all PE grades increased. PE shipments rose from both domestic producers and foreign
suppliers. The estimated PP consumption in the Russian market was 1,260,400 tonnes in January-December 2019,
up by 4% year on year. Supply of almost all grades of propylene polymers increased, except for statistical
copolymers of propylene (PP random copolymers).

mreplast.com
Author: Anna Larionova

Tags: petroleum products, crude oil, PP, PE, ethylene, propylene.
Category: General News

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25.08.2020: US Gulf of Mexico producers shut in more production ahead of two tropical storms
25.08.2020: Twin US Gulf Coast storms stir deep production cuts by energy giants

www.nircplast.com/news-news_open-368419.html 1/2
Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 45 of 57 PagelD: 104

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Four missing after dredging vessel fire at Corpus Christi port in Texas
Motiva may shut largest U.S. refinery during storms Marco, Laura
US chemical production up in July, says ACC

LyondellBasell beats Q2 earnings estimates

Petronas Chemicals, LG Chem to build plant at Pengerang complex
Venezuela restarts gasoline output at Cardon refinery reformer unit
EMS Group profits, sales fall on COVID-19 impact

COVID-19 - News digest as of 25.08.2020

Petkim posts USD20M profit in Q2 2020

Indian Gil to build USD 1.8-billion petchem complex at Paradip, India
3M to make NOS masks at Brockville, Ont. plant

BASF enhances R&D capabilities with the acquisition of polyamide business from Salvay

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US crude stockpiles fall even as imports jump

Expoplast 2020 cancelled, replacement virtual event scheduled for November-December

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LLDPE PP-random Soft compound EPS Propylene — Extrisian Blow Molding
EVA Rigid compound ABS Chlorine Profile extrusion
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www.mrcplast.com/news-news_open-36841 9.html

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Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 46 of 57 PagelD: 105

New Jersey Business Gateway
Business Entity Information and Records Service
Business Id : 0101018969

 

Status Report For: PBF ENERGY INC.
Report Date: 8/24/2020
Confirmation Number: 202372089044

IDENTIFICATION NUMBER, ENTITY TYPE AND STATUS INFORMATION

 

Business ID Number: 0101018969

Business Type: FOREIGN PROFIT CORPORATION
Status: ACTIVE

Original Filing Date: 11/23/2011

Stock Amount: N/A

Home Jurisdiction: DE

Status Change Date: NOT APPLICABLE

REVOCATION/SUSPENSION INFORMATION

 

DOR Suspension Start N/A
Date:

DOR Suspension End N/A
Date:

Tax Suspension Start N/A
Date:

Tax Suspension End N/A
Date:

ANNUAL REPORT INFORMATION

 

Annual Report Month: NOVEMBER

Last Annual Report 10/17/2019
Filed:
Year: 2019

AGENT/SERVICE OF PROCESS (SOP) INFORMATION

 

Agent: THE CORPORATION TRUST COMPANY

Agent/SOP Address: 820 BEAR TAVERN ROAD ,WEST TRENTON,NJ, 08628
Address Status: DELIVERABLE

Main Business Address: 1 Sylvan Way, 2nd Floor, Parsippany,NJ, 07054
Principal Business 1 Sylvan Way,2nd Floor, Parsippany, NJ,07054
Address:

ASSOCIATED NAMES

Associated Name: N/A
Type: N/A
Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 47 of 57 PagelD: 106

8/25/2020 PBF To Acquire Sunoco’s Toledo, Ohio Refinery - First Reserve

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EXHIBIT

 

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Home / News

PBF To Acquire Sunoco s Toledo, Chio Refinery

Parsippany, NJ, December 2, 2010 /Business Wire/ — PBF Holding Company LLC and its
subsidiary, Toledo Refining Company LLC ("PBF") have entered into an agreement to acquire the
170,000 barrel per day Toledo, Ohio refinery and related assets from Sunoco, Inc. (R&M). PBF will
acquire the facility for approximately $200 million in cash and will enter into a note with the seller
in the amount of $200 million. In addition to the purchase price, PBF will acquire the hydrocarbon
inventory at closing. In the event that the refinery exceeds certain profitability thresholds there is
a participation payment of up to $125 million. The transaction is expected to close in the first
quarter of 2011.

“The Toledo acquisition provides PBF with growth in a different geographic area. This refinery is
well configured to serve its marketplace. The PBF team, many of whom previously worked for
Premcor, is very familiar with the mid-Continent marketplace, having managed Premcor's Lima,
Ohio refinery.”

The Toledo facility is a high conversion light/sweet refinery with a Nelson complexity rating of 9.2.
Major process units include a fluid catalytic cracking unit, a high pressure hydrocracker, a
gasoline hydrotreater, two reformers, an alkylation unit and a UDEX unit. There are

approximately five million barrels of crude oil and product storage at the refinery.

Thomas D. O'Malley, PBF’s Chairman, said, “The Toledo acquisition provides PBF with growth ina
different geographic area. This refinery is well configured to serve its marketplace. The PBF team,
many of whom previously worked for Premcor, is very familiar with the mid-Continent
marketplace, having managed Premcor’s Lima, Ohio refinery.”

O'Malley said further, “PBF intends to continue to expand its footprint in this important strategic
US industry. We are pleased that in addition to the refinery itself, Toledo comes with a team of
highly experienced operators and managers.”

https://www.firstreserve.com/news-articles/pbf-to-acquire-sunocos-toledo-ohio-refinery 1/3
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8/25/2020

PBF To Acquire Sunoco’s Toledo, Ohio Refinery - First Reserve

Thomas Nimbley, PBF’s CEO, commented, "Toledo represents an important addition to the PBF
portfolio. Toledo is a sophisticated refinery that is capable of producing a very high percentage of
gasoline, jet and diesel fuels that are needed to serve the consumer base in the region. PBF plans
to retain substantially the same workforce at the refinery. Toledo has talented and experienced
employees and PBF looks forward to working with them following completion of the acquisition.”

David Foley, Senior Managing Director of Blackstone, said, “Within less than one year, PBF has
acquired and executed definitive purchase agreements to acquire three refineries having a total
production capacity of approximately 530,000 barrels per day. Blackstone is pleased to invest our
private equity capital to build a strong new company that will reinvigorate this critical component
of America’s energy infrastructure, providing attractive jobs to our employees and reliably
delivering clean fuels to American consumers through management's focus on safe and efficient
operations.”

“The Toledo Refinery is a high quality facility in a very attractive refining market and adds
considerable scale and diversity to PBF’s existing asset base,” said Timothy H. Day, Managing
Director for First Reserve Corporation. “First Reserve is pleased to continue to support Tom and
his team in the growth and development of PBF.”

PBPF’s principal owners are The Blackstone Group and First Reserve Corporation.

About PBF Holding:

PBF owns and operates oil refineries and related facilities in North America, Our mission is to
identify attractive acquisition opportunities in the petroleum refining industry and execute
acquisitions that provide superior returns to our investors, provide employees with a safe and
rewarding workplace, and become a positive influence in the communities where we do
business. Further information is available at www.pbfenergy.com

About Blackstone:

Blackstone (NYSE: BX) is one of the world’s leading investment and advisory firms. Blackstone

seeks to create positive economic impact and long-term value for its investors, the companies it

invests in, the companies it advises and the broader global economy. The firm accomplishes this
through the commitment of its extraordinary people and flexible capital. Blackstone’s alternative
asset management businesses include the management of private equity funds, real estate
funds, funds of hedge funds, credit-oriented fund and closed-end mutual funds. The Blackstone
Group also provides various financial advisory services, including financial and strategic advisory,
restructuring and reorganization advisory and fund placement services. Further information is
available at www.blackstone.com.

About First Reserve Corporation

First Reserve is the world’s leading private equity firm in the energy industry, making both private
equity and infrastructure investments throughout the energy value chain. For more than 25
years, it has invested solely in the global energy industry, and has developed an unparalleled
franchise, utilizing its broad base of specialized energy industry knowledge as a competitive
advantage. The firm is currently investing its most recent fund, which closed in 2009 at
approximately $9 billion. First Reserve invests strategically across a wide range of energy industry

https://www. firstreserve.com/news-articles/pbf-to-acquire-sunocos-toledo-ohio-refinery

23
Gase 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 49 of 57 PagelD: 108

8/25/2020 PBF To Acquire Sunoco’s Toledo, Chio Refinery - First Reserve

) sectors, developing a portfolio that is diversified across the energy value chain, backing talented

, Management teams and building value by building companies. Further information is available at
| www. firstreserve.com.

 

 

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https://www:firstreserve.com/news-articles/pbf-to-acquire-sunocos-toledo-ohio-refinery

 

 

 

 

 

 

 

 

 

 

 

 
 

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Exhibit 10.3

EXECUTION COPY
CONFIDENTIAL

SPECIFIC TERMS IN THIS EXHIBIT HAVE BEEN REDACTED BECAUSE CONFIDENTIAL TREATMENT FOR THOSE TERMS HAS BEEN REQUESTED. THE
REDACTED MATERIAL HAS BEEN SEPARATELY FILED WITH THE SECURITIES AND EXCHANGE COMMISSION, AND THE TERMS HAVE BEEN MARKED
AT THE APPROPRIATE PLACE WITH THE WORD “[REDACTED]”.

ASSET SALE AND PURCHASE AGREEMENT
ek
by and between
Toledo Refining Company LLC, as the Buyer,
and
SUNOCO, INC. {R&M), as the Seller
Dated as of December 2, 2010

 

Highly Confidential
Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 52 of 57 PagelD: 111

 

IN WITNESS WHEREOF, the Parties hereto have executed this First Amendment as of the date first above written.
SELLER:

SUNOCO, INC. (R&M), a Pennsylvania
corporation

Name: Brian MacDonald
Title: SVP and CFO

BUYER:

TOLEDO REFINING COMPANY LLC, a
Delaware limited llability company

By: A
Name: Jeffrey Dill
Title: Secretary

[Signature Page to First Amendment -Asset Sale and Purchase Agreement]
elD: 112

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

THOMAS H. PILLSBURY, JR. AND Case No.: 2:20-cv-09301-MCA-LDW
MELODY PILLSBURY
Plaintiffs,
JUDGE MADELINE COX ARLEO
vs.

DECLARATION OF CORNELIA
PBF ENERGY, INC. AND JEFFERS BRANDFIELD-HARVEY
CRANE SERVICE, INC.

)
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Defendant(s).
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I, Cornelia Brandfield-Harvey, declare as follows:

I. T am over the age of 18 and suffer under no legal disability. I have personal knowledge of
the matters set forth in this declaration, unless otherwise stated, and if called as a witness, I would
be competent to testify to the matters in this declaration. The facts stated are true and correct.

2. I am an attorney at The Buzbee Law Firm, Houston, Texas.

3. The Firm represents the Plaintiffs in Civil Action No. 2:20-cv-09301; Thomas H. Pillsbury,
Jr., et al vy. PBF Energy, Inc., et al pending in the United States District Court for the District of
New Jersey, Newark Division. I am familiar with the Exhibits attached to Plaintiffs’ Response to
Defendant PBF Energy, Inc.’s Motion to Dismiss for Failure to State a Claim and For Improper
Venue (the “Response”).

4. Additionally, on August 24, 2020 and August 25, 2020, I searched and viewed PBF Energy,
Inc.’s 2018 Annual Report and printed the records attached as Exhibit A. I searched and viewed

PBF Energy’s webpage and printed the records attached as Exhibits B and I. On these same dates,
Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 56 of 57 PagelD: 115

I viewed Mike Gidgeon’s, Marc Halley’s and Jeffrey Dill’s LinkedIn pages and printed them for
use as Exhibits C, L, and K in this Response, respectively. On these same dates I viewed news
articles and printed for use as Exhibits D, E, F, and H. On these dates, I searched and viewed
Secretary of State records and printed the records attached as Exhibit G. On these dates, I searched
and viewed the Asset Sale and Purchase Agreement dated December 2, 2010 and printed the record
attached as Exhibit J.

5. As such I have personal knowledge of these Exhibits and can attest their authenticity.

6. Accordingly, the attached Exhibits are true and correct copies of those identified in the

Response.
I declare under penalty of perjury and under the laws of the United States of America that

the foregoing is true and correct. Executed this 25" day of August 2020, in Dallas, Texas.

 

Cornelia Brandfield-Harvey
Case 2:20-cv-09301-MCA-LDW Document 6 Filed 08/25/20 Page 57 of 57 PagelD: 116

 

 

1 UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF NEW JERSEY
3
THOMAS H. PILLSBURY, JR. AND ) Case No.: 2:20-cv-09301-MCA-LDW
MELODY PILLSBURY )
5 Plaintiffs, ) JUDGE MADELINE COX ARLEO
6 vs. [PROPOSED] ORDER DENYING
) DEFENDANT PBF ENERGY, INC.’S
4 ) MOTION TO DISMISS FOR FAILURE
PBF ENERGY, INC. AND JEFFERS ) TOSTATE A CLAIM AND IMPROPER
CRANE SERVICE, INC. VENUE
9 )
10 Defendant(s).
)
11 )
)
12
13 Upon consideration of the Motion to Dismiss filed by Defendant PBF Energy, Inc. (“PBF
14

Energy”), and all papers filed in support thereof, Plaintiffs’ Response in Opposition to said Motion
and all papers filed in support of the Opposition, pursuant to Rules 12(b)(6) and 12(b)(3) of the
Federal Rules of Civil Procedure, it is hereby ORDERED that PBF Energy’s Motion to Dismiss is

DENIED. In the Alternative, Plaintiffs are given leave to re-plead and file an Amended Complaint.

IT [IS SO ORDERED.

 

 

 

HON. MADELINE COX ARLEO, U.S.D.J.

 

 

 
